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              IN THE UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF ARKANSAS
                        CENTRAL DIVISION

JACK BANKS                *
                          *
               PETITIONER *
V.                        *                  CASE NO. 4:21CV00191 SWW
                          *
STATE OF ARKANSAS         *
                          *
               RESPONDENT *

                                JUDGMENT

     Consistent with the Order that was entered on this day, it is CONSIDERED,

ORDERED, and ADJUDGED that this action is DISMISSED WITHOUT

PREJUDICE.

     IT IS SO ORDERED THIS 3RD DAY OF MAY, 2021.

                                         /s/Susan Webber Wright
                                         UNITED STATES DISTRICT JUDGE
